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  SO ORDERED.
  SIGNED this 08th day of October, 2024.

                                                      ________________________________________
                                                              CHRISTOPHER G. BRADLEY
                                                         UNITED STATES BANKRUPTCY JUDGE
  ________________________________________________________________

                          UNITED STATES BANKRUPTCY COURT
                             WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

  In Re:                                          §           Case No. 23-11007-CGB
  ARTIUSID, INC

  Debtor


                                                 T§
                                                  §
                                                  §                   Chapter 7
                                 O
            ORDER GRANTING TRUSTEE’S MOTION TO RECONSIDER
  _____________________________________________________________________________
           Before the Court is the Motion filed by the Trustee requesting reconsideration of this
                 O
   court’s order of August 8, 2024, at Docket Entry No. 83 The Court finds that the Motion

   should be granted as set forth below.

           ACCORDINGLY, IT IS THEREFORE ORDERED that the status conference resulting
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   in Docket No. 83 be reset in conjunction with the hearing on the Debtor’s Motion to Dismiss.

                                     ### END OF ORDER ###

  Order Prepared By:

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